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 1   DAVID A. TORRES AND ASSOCIATES
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     ERISHENIQUA DIXON
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 8
                   IN THE UNITED STATES DISTRICT COURT
 9
               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                            Case No.: 12-CR-0301 AWI
12                        PLAINTIFF,
                                                          DEFENDANTS REQUEST AND
13                                                        WAIVER OF APPEARANCE
14
     ERISHENIQUA DIXON ,
15
                                     DEFENDANT.
16
17   Defendant, ERISHENIQUA DIXON, hereby requests a Court Order waiving her appearance at
18   the status conference hearing scheduled for Monday, January 28, 2013.
19          Ms. Dixon contacted me early this week and informed me that she does not have
20   transportation or the funds to drive to United States District Court in Fresno to appear on January
21   28, 2013 for her scheduled Change of Plea hearing. I have been in communication with my
22   client and reviewed the plea agreement with her. She has agreed to the plea and will be signing it
23   upon receipt via postal mail.
24          Defendant, ERISHENIQUA Dixon, waives her right to be present in open Court upon the
25   hearing of any motion or other proceeding on this case, including but not limited to, when the
26   case is ordered set for trial, when a continuance is ordered, and when any other action is taken by
27   the Court before or after trial, except upon arraignment, plea, empanelment of jury and
28   imposition of sentence.
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 1          Defendant hereby requests the Court proceed during every absence of her which the Court
 2   may permit pursuant to this waiver; agrees that her interests will be deemed represented at all
 3   times by the presence of her attorney, David A. Torres, the same as if the Defendant was
 4   personally present; and further agrees to be present in person in Court ready for trail any day and
 5   hour the Court may fix her absence.
 6          Defendant further acknowledges that she has been informed of her rights under Title 18,
 7   United States Code, section 3161-3174 (Speedy Trial Act), and authorizes her attorney to set
 8   time and delays under the Act without Defendant being present.
 9
10   Date: January 25, 2013
11   /s/David A. Torres                                           /s/Erisheniqua Dixon
     Counsel for Defendant                                        Erishenquia Disxon
12
13
                                                 ORDER
14
            GOOD CAUSE APPEARING, it is hear by ordered that the defendant’s appearance may
15
     be waived on January 28, 2013.
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     IT IS SO ORDERED.
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18   Dated:    January 28, 2013
     0m8i78                                                    SENIOR DISTRICT JUDGE
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